         Case 21-02909-hb                    Doc 2 Filed 11/09/21 Entered 11/09/21 19:00:20                                           Desc Ch 7
                                                First Mtg Notice (BNC) Page 1 of 1
Information to identify the case:
Debtor
                The Muffin Mam, Inc.                                                         EIN:   83−0929843
                Name

United States Bankruptcy Court       District of South Carolina                              Date case filed for chapter:         7      11/9/21

Case number:        21−02909−hb
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can
be required to pay actual and punitive damages and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       The Muffin Mam, Inc.

2. All other names used in the
   last 8 years
3. Address                                  830 Hunter Industrial Park Road
                                            Laurens, SC 29360
4. Debtor's attorney                        William Harrison Penn                                             Contact phone 803−771−8836
                                            McCarthy, Reynolds & Penn, LLC
   Name and address                         1517 Laurel Street (29201)                                        Email: hpenn@mccarthy−lawfirm.com
                                            PO Box 11332
                                            Columbia, SC 29211−1332
5. Bankruptcy trustee                       John K Fort                                                       Contact phone 864−237−8284
                                            PO Box 789
   Name and address                         Drayton, SC 29333                                                 Email: trustee863@gmail.com
6. Bankruptcy clerk's office                J. Bratton Davis United States                                    Hours open 9:00 am − 5:00 pm
                                            Bankruptcy Courthouse
   Documents in this case may be            1100 Laurel Street
   filed at this address. You may           Columbia, SC 29201−2423                                           Contact phone: 803−765−5436
   inspect all records filed in this case
   at this office or online at                                                                                Date: 11/9/21
   www.pacer.gov.
7. Meeting of creditors                     December 21, 2021 at 09:30 AM                                     Location:
   The debtor's representative must         The meeting may be continued or adjourned to a later date. If     Donald Stuart Russell Federal
   attend the meeting to be                 so, the date will be on the court docket.                         Courthouse, 201 Magnolia Street,
   questioned under oath. Creditors                                                                           Spartanburg, SC 29306−2355
   may attend, but are not required to                *** Valid photo identification required ***
   do so.
8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of        If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice to that you may file a proof of claim and stating the deadline.
   do so.
9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
10. Miscellaneous Notice                    The Voice Case Information System (VICS) will give status information on cases filed or converted after
                                            11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at www.scb.uscourts.gov for further
                                            information.
                                            Property of the estate may be abandoned by the trustee at the meeting of creditors unless creditors or parties
                                            in interest object to SC LBR 6007−1.
11. Options to Receive                      (1) Anyone can register for the Electronic Bankruptcy Noticing program at bankruptcynotices.uscourts.gov OR
    Notices Served by the                   (2) Debtors can register for DeBN by filing local form 'Debtor's Electronic Noticing Request (DeBN)' with the
                                            Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices and orders
    Clerk by Email Instead of               by email. See Local Rule 9036−1.
    by U.S. Mail
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